
PER CURIAM.
We have for review State v. Woods, 602 So.2d 698, 698 (Fla. 4th DCA 1992), in which the Fourth District Court of Appeal certified the same question that it certified in Williams v. State, 593 So.2d 1064 (Fla. 4th DCA 1992). In Williams, the court certified the following question:
DOES THE SOURCE OF ILLEGAL DRUGS USED BY LAW ENFORCEMENT PERSONNEL TO CONDUCT REVERSE STINGS CONSTITUTIONALLY SHIELD THOSE WHO BECOME ILLICITLY INVOLVED WITH SUCH DRUGS FROM CRIMINAL LIABILITY?
593 So.2d at 1064. We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution.
We addressed this issue in State v. Williams, 623 So.2d 462 (Fla.1993), where we held
that the illegal manufacture of crack cocaine by law enforcement officials for use in a reverse-sting operation within 1000 feet of a school constitutes governmental misconduct which violates the due process clause of the Florida Constitution.
623 So.2d at 463. Accordingly, we approve the decision of the district court below.
It is so ordered.
BARKETT, C.J., and OVERTON, SHAW, GRIMES, KOGAN and HARDING, JJ., concur.
MeDONALD, J., dissents.
